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 1 Ogonna M. Brown, Esq. (NV Bar No. 7589)                             E-filed August 6, 2018
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 7

 8                                UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEVADA
 9
     In re:                                                Case No. 18-10453-LEB
10
     U.S.A. DAWGS, INC.,                                   Chapter 11
11
                               Plaintiff.                  Judge: Hon. Laurel E. Babero
12

13 U.S.A. DAWGS, INC.,                                     Adv. No. 18-01011-LEB

14                             Plaintiff,                  DEFENDANT GEMCAP LENDING I,
                                                           LLC’S OPPOSITION TO MOTION FOR
15              v.                                         CONTINUANCE ON MOTION TO
                                                           DISMISS
16 GEMCAP LENDING I, LLC,
                                                           Date of Hearing:      August 6, 2018
17                             Defendant.                  Time of Hearing:      9:30 a.m.

18                                                         Place: Courtroom No. 3, Third Floor
                                                                  Foley Federal Building
19                                                                300 Las Vegas Blvd. S.
                                                                  Las Vegas, NV 89101
20

21            GemCap Lending I, LLC (“GemCap”), by and through its counsel, the law firms Lewis

22 Roca Rothgerber Christie LLP and Freeman, Freeman & Smiley LLP, hereby submits its

23 Opposition to the Motion for Continuance on Motion to Dismiss filed by Mojave Desert

24 Holdings, LLC (“Mojave Desert”), and entity created by James Mann, the brother of the Steve

25 Mann and Barry Mann, the Debtor’s principals, on August 3, 2018 (“Motion to Continue”)

26


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                     1
 1 (Adv. ECF No. 41), wherein Mojave Desert seeks to continue the hearing on GemCap’s

 2 Motion to Dismiss the Adversary Complaint U.S.A. Dawgs, Inc. (“Debtor”) commenced

 3 against GemCap on February 20, 2018 [Adv. ECF No. 1].

 4           This Opposition is based upon the following grounds and the following reasons: (1) as

 5 a preliminary matter, on the eve of the hearing, Mojave Desert failed to contact local counsel

 6 via telephone or email to request an expedited hearing, but only left a message for Todd M.

 7 Lander Esq. on Friday, August 3, 2018, regarding the request for an expedited hearing; (2)

 8 Mojave Desert lacks standing to seek a continuance of the Motion to Dismiss the Adversary, as

 9 Mojave Desert admits in its Motion that “it is in the process of purchasing the Litigation Asset

10 from Dawgs Holdings LLC, the entity created by Optimal Investment Group, Inc. (“OIG”)”

11 and that it does not yet own the Litigation Assets previously owned by the Debtor; (3) GemCap

12 is prepared to proceed with the Motion to Dismiss the Adversary Complaint, and disputes

13 vigorously Mojave Desert’s characterization of the continued August 6, 2018 hearing as a

14 placeholder or status hearing. This Court previously continued the dismissal hearing at the

15 request of Debtor’s replacement counsel, Matt Zirzow, Esq. to allow him time to get up to

16 speed and prepare for the hearing, as he has only recently been retained by the Debtor, and

17 Attorney Gray Kozlowski represented to the Court that she was unable to argue to oppose the

18 Motion to Dismiss the Adversary as a result of her impending withdrawal as Debtor’s counsel.

19 GemCap has expended fees and costs, including travel costs, to proceed with the dismissal

20 hearing on numerous occasions, which has been continued four times, and GemCap will be

21 further prejudiced with increasing fees, costs, and additional unnecessary delay, if the hearing

22 does not proceed as scheduled on August 6, 2018; (4); the briefing schedule on the Motion to

23 Dismiss the Adversary Case is closed, as the Opposition to the Motion to Dismiss Adversary

24   1
       Unless otherwise identified, all references to “ECF No.” are to the numbers assigned to the documents filed in the
     bankruptcy case of In re U.S.A. Dawgs, Inc., Bankr. D. Nev. Case No. 18-10453 (“Bankruptcy Case”), as they
25   appear on the docket (“Bankruptcy Docket”) maintained by the Clerk of the Court of the United States Bankruptcy
     Court for the District of Nevada (“Clerk of Court”). All references to “Adv. ECF No.” are to the numbers assigned
26   to the documents filed in the adversary proceeding identified in the caption above (“Adversary Proceeding”), as they
     appear on the adversary docket (“Adversary Docket”) maintained by the Clerk of Court.

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 1 Complaint was filed on April 26, 2018 [Adv. ECF No. 15], and any attempt to submit any

 2 other filings to this Court would result in a fugitive document precluded by the Local Rules of

 3 Bankruptcy Practice of the United States District Court for the District of Nevada (“LR”); (5)

 4 Mojave Desert’s request to further continue the hearing on the dismissal motion is perceived

 5 by GemCap as nothing more than yet another stall tactic and effort by the Debtor to breach the

 6 settlement terms reached with GemCap and presented to the Court. Regardless of whether

 7 Debtor, OIG, or now the soon to be purported successor-in-interest Mojave Desert own the

 8 Debtor’s Litigation Assets, as it relates to the pending Motion to Dismiss the Adversary, each

 9 of them are bound by the May 17, 2018, settlement terms placed on the record before this

10 Court, and previously upheld by this Court when challenged by Diamond Distribution, Ltd.

11 (“Double Diamond”) in connection with the Motion to Remove Certain Litigation Claims

12 From the List of Assets Being Sold at the June 29, 2018 Auction of Debtor’s Assets Or, In the

13 Alternative, For the Appointment of a Chapter 11 Trustee to Determine Values and Best Use of

14 Debtor’s Litigation Claims [ECF No. 431] (“Double Diamond Motion”); and (6) Mojave

15 Desert’s efforts to purchase the Litigation Assets and oppose dismissal of the Adversary Case

16 appear to confirm allegations of collusion in connection with the Auction and bidding process,

17 and clearly show the effort by the Mann Siblings to wrest control of the litigation for their

18 personal benefit.

19           This Opposition is supported by the papers and pleadings on file in this Case, judicial

20 notice of which GemCap respectfully requests this Court take pursuant to FED. R. EVID. 201(b)

21 and (c)(2) and FED. R. EVID. 1101(a) and (b); the Memorandum of Points and Authorities

22 below; and any oral argument the Court entertains at the hearing on the Motion.

23 . . .

24 . . .

25 . . .
26 . . .


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 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2                                          I.    JURISDICTION

 3           This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(a) and 157,

 4 and LR 1001(b)(1). Adjudication of the Motion constitutes a core proceeding pursuant to 28

 5 U.S.C. §§ 157(b)(2)(A), (B), (K). Venue in the District of Nevada is appropriate pursuant to 28

 6 U.S.C. § 1408.

 7                               II.     STATEMENT OF RELEVANT FACTS

 8           1.       On January 31, 2018 (the “Petition Date”), Debtor filed a voluntary chapter 11

 9 Petition [ECF No. 1] (“Petition”).

10           2.       On February 20, 2018, Debtor filed a Complaint against GemCap, pending as

11 Adv. Case No. 18-1011 (“Adversary Complaint”).

12           3.       On March 30, 2018, GemCap filed its Motion to Dismiss Adversary Complaint

13 [Adv. ECF No. 12] (“Dismissal Motion”).

14           4.       On March 30, 2018, the Dismissal Motion was noticed for hearing to occur on

15 May 10, 2018 [Adv. ECF No. 13].

16           5.       On April 26, 2018, Debtor filed its Opposition to the Dismissal Motion [Adv.

17 ECF No. 15] (the “Opposition”).

18           6.       The hearing on the Motion to Dismiss Adversary Complaint was continued

19 from May 10, 2018, to May 17, 2018 [Adv. ECF No. 17].

20           7.       On May 3, 2018, GemCap filed its reply in support of the Dismissal Motion

21 [Adv. ECF No. 16].

22           8.       On May 17, 2018, the final terms of the resolution reached between Debtor and

23 GemCap were placed on the record, pursuant to which Debtor agreed GemCap held an allowed

24 secured claim in the amount of $4.3 million (“Allowed Secured Claim”).                The Court

25 established the date for the auction of Debtor’s assets (altogether, the “Assets”), with
26 GemCap’s credit bid as the stalking horse bidder for June 29, 2018, only in the event OIG


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 1 failed to timely fund escrow on or before June 15, 2018. In the event OIG timely funded

 2 escrow on or before June 15, 2018, but Debtor was unable to confirm a plan of reorganization

 3 by July 31, 2018, the Court had established the date for auction of Debtor’s assets with

 4 GemCap’s credit bid as the stalking horse bidder for August 1, 2018 (collectively, the

 5 “Terms”). In reliance of the terms of the agreement, GemCap withdrew its objection to further

 6 use of its cash collateral and agreed, as part of the settlement, to the continued use of that cash

 7 collateral until either confirmation of the proposed plan of reorganization or alternatively,

 8 proceeding with the auction.

 9           9.       On May 22, 2018, GemCap filed its Notice of Credit Bid of GemCap Lending I,

10 LLC [ECF No. 303] (the “Credit Bid Notice”), which set forth GemCap’s credit bid for the

11 Assets (the “Credit Bid”) in connection with its Allowed Secured Claim up to the amount of

12 $4.3 million.

13           10.      On June 15, 2018, Debtor filed its Notice of Auction on June 29, 2018 [ECF

14 No. 380] (the “Auction Notice”), establishing an auction hearing and subsequent sale hearing,

15 to occur June 29, 2018, at 10:00 a.m. and 4:00 p.m., respectively, for the sale of Debtor’s assets

16 (the “Auction”). See also ECF Nos. 389, 390.

17           11.      On June 18, 2018, the Court entered its Order approving bid procedures [ECF

18 No. 383], which Order approved specific bid procedures to be utilized at the Auction.

19           12.      On June 26, 2018, Double Diamond filed a Motion to Remove Certain

20 Litigation Claims from the List of Assets being Sold at the June 29, 2018 Auction of Debtor’s

21 Assets or, in the alternative, for the Appointment of a Chapter 11 Trustee to Determine Values

22 and Best Use of Debtor’s Litigation Claims (“Double Diamond Motion to Remove Litigation

23 Claims”) [ECF No. 431], seeking to intervene in and disrupt the Auction.

24           13.      On June 26, 2018, James Mann and Steve Mann each filed a declaration in

25 support of the Double Diamond Motion to Remove Litigation Claims [ECF Nos. 433-434].
26


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 1           14.       On June 28, 2018, at the conclusion of an expedited hearing, this Court denied

 2 the Double Diamond Motion to Remove Litigation Claims, ruling, among other things, the

 3 settlement entered into between the Debtor and GemCap for an Allowed Secured Claim of $4.3

 4 million was binding as a matter of law. See Order Denying Disposition of Property [ECF No.

 5 489].

 6           15.      In the interim, GemCap’s Motion to Dismiss Adversary has been continued

 7 from July 6, 2018 to July 20, 2018, and again to August 6, 2018, at the request of Debtor’s

 8 replacement counsel, Matt Zirzow, Esq., to allow him time to prepare for the hearing, as he

 9 was only recently retained by the Debtor, and Attorney Gray Kozlowski represented to the

10 Court that she was unable to argue to oppose the Motion to Dismiss the Adversary as a result

11 of her impending withdrawal as Debtor’s counsel.

12           16.      On August 3, 2018, Mojave Desert filed the Motion to Continue on an

13 expedited basis [Adv. ECF No. 41].

14                                           III.     ANALYSIS

15           In addition to the dispositive fact that Mojave Desert lacks standing to bring a motion to

16 continue the hearing on the Motion to Dismiss Adversary, Mojave Desert has failed to comply

17 with LR in filing the Motion without a statement indicating Desert Mojave’s consent to the

18 jurisdiction of the Court and regarding whether the Motion is a core proceeding. See LR 7008.

19 Mojave Desert also failed to contact local counsel via telephone or email to request an

20 expedited hearing, but only left a message for Todd M. Lander Esq. on Friday, August 3, 2018,

21 regarding the request for an expedited hearing on shortened time (“OST”), providing GemCap

22 no meaningful opportunity to respond to the OST request before Mojave Desert filed its

23 request for an expedited hearing. GemCap thus had little or no time to prepare for this latest

24 eleventh hour attempt to continue the hearing on its Motion to Dismiss. Notwithstanding the

25 failings in seeking the expedited hearing, and jurisdictional defects that preclude this Court
26


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 1 from entertaining Mojave Desert’s Motion, GemCap presents the following analysis in

 2 opposition to the Motion in an abundance of caution.

 3 A.        Mojave Desert Has No Standing to Seek a Continuance of Hearing.

 4           Mojave Desert concedes that it has no standing to bring the Motion. Specifically, as set

 5 forth in the Motion to Continue, Mojave Desert stated that “it is in the process of purchasing

 6 the Litigation Asset from Dawgs Holdings LLC, the entity created by” OIG and that it does not

 7 yet own the Litigation Assets previously owned by the Debtor. See Motion, Adv. ECF No. 41,

 8 p. 2, ll. 2-3. As of the date of this writing, Mojave Desert has failed to present any admissible

 9 evidence to demonstrate that it in fact owns the Litigation Assets previously owned by the

10 Debtor and subsequently OIG.              Absent evidence of an assignment or purchase for

11 consideration, Mojave Desert lacks standing to seek a continuance of the Motion to Dismiss

12 Adversary.

13           1.       Last Minute Request for Expedited Hearing Inconsistent with “Long-

14                    Standing Obligations” of Mojave Desert’s Counsel.

15           James Mann was present during the July 20, 2018, hearing on the Motion to Dismiss

16 Adversary, when GemCap specifically requested an independent date for the continued hearing

17 to ensure that its Motion be heard and the Manns’ persistent efforts to sabotage the May 17

18 agreement – which Steven and Barrie Mann negotiated on behalf of the Debtor – for their

19 personal benefit. But at no time did counsel for James Mann’s entity request a different

20 hearing date from GemCap based upon the “long-standing obligations” of counsel that

21 interfered with the continued hearing of August 6, 2018. Gamesmanship and lack of good faith

22 are the catalyst for James Mann’s last minute request for a continuance, as evidenced by the

23 timing of the formation of Mojave Desert, juxtaposed with the eleventh hour request filed late

24 on a Friday afternoon to thwart GemCap’s dismissal efforts. A true and correct copy of the

25 corporate formation information for Mojave Desert Holdings LLC is attached hereto as
26 Exhibit “A”, reflecting a corporate file date of July 27, 2018, and the filing of the Initial List


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 1 of Officers and Articles of Organization on the same date, identifying James Mann as the
                                      2
 2 resident agent and managing member. Inexplicably, James Mann, through his newly created

 3 entity Mojave Desert, waited one full week before requesting the continued hearing date,

 4 creating his own “emergency”.

 5            This Court has been exceedingly accommodating in that it has repeatedly allowed

 6 telephonic appearances in connection with out-of-state counsel throughout the proceedings

 7 involving Debtor’s case. And yet it remains unclear from the cursory explanation in Matt

 8 Berkowitz’s Declaration why a telephonic hearing was not requested by either of the two lead

 9 attorneys. Mojave Desert failed to identify an alternative time for the hearing after 9:30 a.m.

10 on August 6, 2018 [Adv. ECF No. 41, pp. 4-5]. Rather, Mr. Berkowitz solely identified “long-

11 standing obligations [of] both Fred Sosnick” and Mr. Berkowitz, the principal attorneys, as the

12 reason for their inability to attend the hearing. GemCap’s Motion to Dismiss has been on file

13 with this Court since March 30, 2018 [Adv. ECF No. 12], allowing more than sufficient time

14 for local counsel to prepare for the hearing that has been scheduled most recently since July 20,

15 2018.

16            James Mann was in the courtroom when the Court continued the hearing on the Motion

17 to Dismiss, and at no time did Mojave Desert raise a scheduling issue, especially given the

18 repeated representations made starting June 29, 2018, that James Mann intended to purchase

19 the Litigation Assets. And that is particularly troubling, given that GemCap was emphatic in

20 requesting a hearing date for the Motion that preceded the hearing on the Debtor’s Motion to

21 Dismiss the Adversary Action – precisely because of the Manns’ constant and increasingly

22 desperate attempts to renege on the Settlement Agreement they negotiated and reached on

23 behalf of the Debtor May 17, 2018, it is imperative that this matter be brought to a conclusion

24 by this Court by dismissing the Adversary Action.                         Notwithstanding Mr. Berkowitz’s

25 representations to the Court in his declaration that “[w]e expect that the purchase will be
26   2
      GemCap requests that this Court take judicial notice of the Nevada Secretary of State filing pursuant to FED. R.
     EVID. 201(b) and (c)(2) and FED. R. EVID. 1101(a) and (b), which document is a matter of public record.

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 1 completed in the very near future, and likely before the hearing” on GemCap’s Motion to

 2 Dismiss Adversary [Adv. ECF No. 41, p. 5, ll. 1-4], Mojave Deserts has not provided GemCap

 3 with a copy of an executed purchase agreement.

 4           2.       GemCap Will be Prejudiced if Hearing on Motion to Dismiss Adversary is

 5                    Continued Yet Again.

 6           GemCap will again be prejudiced in the event the Motion to Dismiss Adversary is

 7 continued a fifth time, given the unnecessary costs GemCap will incur to travel to yet another

 8 continued hearing on the adversary dismissal motion. On July 20, 2018, GemCap made

 9 unequivocally clear during the last hearing on the Motion to Dismiss Adversary that it was

10 prepared to proceed with the Motion to Dismiss the Adversary Complaint. GemCap disputes

11 vigorously Mojave Desert’s characterization of the continued August 6, 2018 hearing as a

12 placeholder or status hearing. This Court previously continued the dismissal hearing at the

13 request of Debtor’s replacement counsel, Matt Zirzow, Esq. to allow him time to become

14 familiar with the matter and prepare for the hearing. As this Court may recall, during the July

15 20, 2018, Attorney Gray Kozlowski represented to the Court that she was unable to argue in

16 opposition to the Motion to Dismiss the Adversary as a result of her impending withdrawal as

17 Debtor’s counsel. GemCap has expended fees and costs, including travel costs, to proceed

18 with the dismissal hearing on numerous occasions, which has been continued four times, and

19 GemCap will be further prejudiced with increasing fees, costs, and additional unnecessary

20 delay, if the hearing does not proceed as scheduled on August 6, 2018.

21           3.       GemCap’s Motion to Dismiss Adversary is Fully Briefing, Requiring Only

22                    Oral Argument.

23           Debtor, its affiliates Double Diamond and its principals, through family members, in

24 this instance James Mann, through Mojave Desert, have effectively stalled the hearing on the

25 Motion to Dismiss the Adversary, and are now playing a game of hot potato in furtherance of
26 the ongoing delay tactics. Based upon the record before this Court, and the repeated


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 1 continuances, this Court should deny Mojave Desert’s request to continue the hearing for a

 2 fifth time, especially given that the briefing schedule on the Motion to Dismiss the Adversary

 3 Case is closed.

 4              The Opposition to the Motion to Dismiss Adversary Complaint was filed on April 26,

 5 2018 [Adv. ECF No. 15]. Any attempt by Mojave Desert to submit any other filings to this

 6 Court over three (3) months after the opposition deadline would result in a fugitive document

 7 precluded by the Local Rules. James Mann’s purpose in attempting to hijack the Debtor’s

 8 Adversary Complaint is to weaponize the bankruptcy litigation in an effort to help his brothers

 9 gain some tactical advantage over the pending federal guarantor action commenced by

10 GemCap in California.              Mojave Desert’s request to further continue the hearing on the

11 dismissal motion is perceived by GemCap as nothing more than yet another stall tactic that

12 should not be tolerated by this Court.

13
     B.         To Extent Mojave Desert Is Deemed to Have Standing, It Is Estopped From
14              Challenging GemCap’s Settlement with Debtor and Raising Defenses to Dismissal
                of Adversary.
15
                Alternatively, to the extent this Court finds that Mojave Desert has standing to argue
16
     the Motion to Dismiss, the Debtor, and in turn OIG, the successful bidder, and any successors-
17
     in-interest as it relates to the Litigation Assets, are each respectively bound by the settlement
18
     Terms placed on the record before this Court on May 17, 2018. See e.g., Doi v. Halekulani
19
     Corp., 276 F.3d 1311, 1138 (9th Cir. 2002) (“it is well-established that an oral agreement is
20
     binding on the parties, particularly when the terms are memorialized into the record”) (citations
21
     omitted).3       Mojave Desert seeks to breach the Debtor’s settlement Terms reached with
22
     GemCap and presented to the Court, which settlement Terms are part of the Litigation Assets
23
     which Mojave Desert claims it is “in the process of purchasing.” See Motion to Continue, p. 2,
24
     ll. 2-3 [Adv. ECF No. 41]. Regardless of whether Debtor, OIG, or now the soon to be
25
     3
         See also In re Christie, 173 B.R. 890, 891 (Bankr.E.D.Tex.1994) (“An agreement announced on the record
26 becomes binding even if a party has a change of heart after [she] agreed to its terms but before the terms are reduced
     to writing.”).

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 1 purported successor-in-interest Mojave Desert own the Debtor’s Litigation Assets, as it relates

 2 to the pending Motion to Dismiss the Adversary, each of them are bound by the May 17, 2018,

 3 settlement terms placed on the record before this Court, and previously upheld by this Court

 4 when challenged by Double Diamond in connection with the Double Diamond Motion [ECF

 5 No. 431].

 6           Mojave Desert’s efforts to purchase the Litigation Assets and oppose dismissal of the

 7 Adversary Case also appear to confirm allegations of collusion in connection with the Auction

 8 and bidding process, and clearly show the effort by the Mann Siblings to wrest control of the

 9 litigation for their personal benefit.         But notwithstanding these transparent and repeated

10 maneuvers, at best, Mojave Desert will have rights, if any, by way of an assignment, and

11 bankruptcy does not enlarge or abridge a successor’s rights to an asset. Rather, Mojave Desert

12 is bound by the same rights that the Debtor had in its defense of the Adversary Complaint,

13 which in this instances includes the agreement between the Debtor and GemCap as placed on

14 the record on May 17, 2018, providing GemCap with an Allowed Secured Claim for $4.3

15 million in exchange for GemCap’s support of the Plan, continued use of its cash collateral,

16 among other things.

17           As previously raised by GemCap on numerous occasions, the Ninth Circuit held in Doi,

18 supra 276 F.3d at 1311, that “it is well-established that an oral agreement is binding on the

19 parties, particularly when the terms are memorialized into the record.” (citations omitted).

20 Mojave Desert cannot now undermine and purport to vitiate Debtor’s settlement with GemCap,

21 which bundle of rights and attendant obligations were subsequently sold to OIG at the Auction.

22 Debtor and its successors cannot challenge the previously agreed upon settlement Terms, given

23 GemCap’s performance in accordance with the Terms placed on the record on May 17, 2018.

24 Debtor, and successor OIG, and to the extent applicable Mojave Desert in the event an

25 assignment and purchase are effectuated, are all estopped from raising defenses to the
26 dismissal of the Adversary Complaint in light of the Terms of the settlement. Based upon the


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 1 undisputed facts before this Court, denial of Mojave Desert’s Motion to Continue the hearing

 2 on the dismissal of the Adversary Complaint is warranted.

 3                                          IV.    CONCLUSION

 4           Based upon the foregoing, GemCap respectfully requests this Court deny Mojave

 5 Desert’s Motion to Continue the hearing on GemCap’s Motion to Dismiss Adversary to avoid

 6 any further and unnecessary prejudice, delay and cost to GemCap.

 7            DATED this 6th day of August, 2018.

 8
                                                    LEWIS ROCA ROTHGERBER CHRISTIE LLP
 9
                                                    By: /s/ Ogonna Brown
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15                                                  Los Angeles, California 90067
16                                                  Attorneys for GemCap Lending I, LLC
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 1
                                         CERTIFICATE OF SERVICE
 2
             I hereby certify that I am an employee of Lewis Roca Rothgerber Christie LLP, and
 3
     that on the 6th day of August, 2018, I caused to be served a true and correct copy of the
 4
     OPPOSITION TO MOTION FOR CONTINUANCE OF HEARING ON MOTION TO
 5
     DISMISS in the following manner:
 6
                      (ELECTRONIC SERVICE) Under Administrative Order 02-1 (Rev. 8-31-04) of
 7
     the United States Bankruptcy Court for the District of Nevada, the above-referenced document
 8
     was electronically filed on the date hereof and served through the Notice of Electronic Filing
 9
     automatically generated by that Court’s facilities.
10
                      (UNITED STATES MAIL) By depositing a copy of the above-referenced
11
     document for mailing in the United States Mail, first class postage prepaid, at Las Vegas,
12
     Nevada, to the parties listed on the attached service list, at their last known mailing addresses,
13
     on the date above written.
14
                      (OVERNIGHT COURIER) By depositing a true and correct copy of the above-
15
     referenced document for overnight delivery via Federal Express, at a collection facility
16
     maintained for such purpose, addressed to the parties on the attached service list, at their last
17
     known delivery address, on the date above written.
18
                      (FACSIMILE) That I served a true and correct copy of the above-referenced
19
     document via facsimile, to the facsimile numbers indicated, to those persons listed on the
20
     attached service list, on the date above written.
21
                                                               /s/ C.J. Scruggs
22                                                            C.J. Scruggs, an employee of
                                                              Lewis Roca Rothgerber Christie LLP
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                             EXHIBIT A
Entity Details - Secretary of State, Nevada                                                             Page 1 of 2
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                   MOJAVE DESERT HOLDINGS LLC
   Business Entity Information
                     Status: Active                                        File Date: 7/27/2018
                                Domestic Limited-Liability
                      Type:                                           Entity Number: E0356532018-6
                                Company
           Qualifying State: NV                                  List of Officers Due: 7/31/2019
              Managed By: Managing Members                           Expiration Date:
           NV Business ID: NV20181535425                       Business License Exp: 7/31/2019



   Additional Information
                                Central Index Key:



   Registered Agent Information
                     Name: JAMES MANN                                     Address 1: 517 BIGHORN RIDGE AVE,
                 Address 2:                                                      City: HENDERSON
                      State: NV                                            Zip Code: 89012
                     Phone:                                                      Fax:
         Mailing Address 1:                                       Mailing Address 2:
               Mailing City:                                           Mailing State:
          Mailing Zip Code:
               Agent Type: Noncommercial Registered Agent



   Financial Information
       No Par Share Count: 0                                         Capital Amount: $ 0
   No stock records found for this company


     −     Officers                                                                        Include Inactive Officers
   Managing Member - JAMES MANN
           Address 1: 517 BIGHORN RIDGE AVE,                        Address 2:
                 City: HENDERSON                                         State: NV
            Zip Code: 89012                                           Country:
              Status: Active                                            Email:



     −     Actions\Amendments
               Action Type: Articles of Organization
         Document Number: 20180331163-68                                 # of Pages: 1
                  File Date: 7/27/2018                                Effective Date:
   (No notes for this action)

               Action Type: Initial List




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        Document Number: 20180331164-79                       # of Pages: 1
                  File Date: 7/27/2018                     Effective Date:
   (No notes for this action)




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